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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
________________________________________________
                                                               X
THE NEW YORK TIMES COMPANY,                                    :

                                       Plaintiff,              :

                        v.                                     :
                                                                       COMPLAINT
DEPARTMENT OF HEALTH AND HUMAN                                 :
SERVICES and CENTERS FOR DISEASE CONTROL
AND PREVENTION,                                                :

                               Defendants.      :
________________________________________________X


        Plaintiff The New York Times Company (“The Times”), by and through its undersigned

attorneys, alleges as follows:

                                            INTRODUCTION

1.      This lawsuit challenges the constructive denial of an April 14, 2020 request under the

Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, submitted by plaintiff The Times to

defendants the Department of Health and Human Services (“HHS”) and the Centers for Disease

Control and Prevention (“CDC”).

2.      As of May 13, 2020, there have been over 1.3 million cases of COVID-19 in the United

States— 82,355 of which have resulted in death. Testing shortages and delayed results have led to an

increased sense of uncertainty about COVID-19’s pervasiveness, leaving some communities in the

dark about the disease’s true threat and the preventative steps that should be taken.

3.      Though demographic information is limited, early data shows that COVID-19 may

disproportionately affect African-Americans and those living in low-income and minority

communities. This disproportionality is likely the consequence of certain community characteristics,




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such as limited access to healthcare, a higher prevalence of underlying medical conditions that

increase the risk of COVID-19, and a significant number of citizens who are “front line” workers.

4.      To understand more about the disproportionate impact of the disease, The Times is seeking

a broad range of data about the positive COVID-19 cases. Only by seeing the overall demographic

picture can the public properly assess the devastation done by the disease in particular communities

and localities.

5.      The public relies on the CDC’s prompt disclosure of information so that it can better

understand the risks of COVID-19. Yet the CDC has refused to turn over important information

about how this pandemic is impacting low-income and minority communities until late October

2020. This information is of the utmost importance to those communities, whose citizens are

seemingly more vulnerable to the disease. With this substantial delay in release of the data that the

CDC has already collected, the public will “not be able to accurately identify the threat among the

most vulnerable populations nor find solutions to address associated health inequities.”

6.      The Times has requested copies of All Human Infection with 2019 Novel Coronavirus

Person Under Investigation (PUI) and Case Report Forms submitted to HHS or any of its

components, including the CDC. These records provide demographic data that will significantly

contribute to the public understanding of COVID-19 and will shed light on agency data collection

methods as part of the government’s response to the pandemic. The Times has been actively

covering the pandemic in general as well as its impact on minority communities. It wishes to

continue doing so by using the requested information to inform the public about the relationship

between certain demographic traits or pre-existing conditions and COVID-19 cases, treatments, and

outcomes.

                                             PARTIES




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7.      Plaintiff The New York Times Company publishes The New York Times newspaper and

www.nytimes.com. The New York Times Company is headquartered in this judicial district at 620

Eighth Avenue, New York, New York, 10018. The New York Times reports on various aspects of

the COVID-19 outbreak to millions of readers every day.

8.      Defendant the Department of Health and Human Services is an agency within the Executive

Branch of the United States government. HHS is responsible for managing a wide variety of health

and welfare programs, both directly and through its components.

9.      Defendant the Centers for Disease Control and Prevention is an agency within the HHS.

The CDC is responsible for responding to domestic health threats through research, control, and

prevention. In carrying out this responsibility, the CDC also complies statistics and data about

ongoing health threats. The CDC has confirmed it has possession and control of the records that

Plaintiff seeks.

                                 JURISDICTION AND VENUE

10.     This Court has subject-matter jurisdiction over this action and personal jurisdiction over the

defendants pursuant to 5 U.S.C. §§ 552(a)(4)(B) and 552(a)(6)(E)(iii). This Court also has jurisdiction

over this action pursuant to 28 U.S.C. § 1331 and 5 U.S.C. §§ 701–06.

11.     Venue is proper in this district under 5 U.S.C. § 552(a)(4)(B).

12.     Plaintiff has exhausted all administrative remedies available in regard to the request at issue.

See 5 U.S.C. § 552(a)(6)(C).

                                                FACTS

                                     The COVID-19 Outbreak

13.     Since the first case of COVID-19 in the United States was identified in January 2020, over

1.3 million Americans have contracted the novel coronavirus that causes COVID-19, and over

82,000 Americans have died from the disease. Worldwide, there are over 4.2 million cases and over

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290,000 deaths. Due to testing shortages and delayed results, the true impact of the disease in

affected communities is unclear.

14.     Low-income and minority communities have been at the core of the United States’

coronavirus outbreak. This stems from a combination of limited access to healthcare resources,

higher prevalence of underlying health conditions that heighten the risks of COVID-19, and a

significant concentration of these communities having “front line” and “essential” workers. In a

letter to the HHS, the Congressional Black Caucus stated that there are serious risk factors for these

communities, because people are “less likely to have the ability to work from home . . . adding to

their risk.”

15.     Early data about hospitalizations and deaths has shown that COVID-19 might

disproportionately affect African-Americans. In the Congressional Black Caucus’ letter to the HHS,

it noted that while everyone is at risk of contracting COVID-19, structural racism, income

inequality, and limited resources make communities of color particularly vulnerable to COVID-19.

16.     Many news outlets have featured stories about how COVID-19 has impacted communities

of color: including The New York Times, The Hill, ProPublica, and The Atlantic. A search of the Lexis

Nexis database on April 27, 2020 identified 2,338 stories published on COVID-19 and racial

disparities in the month of April alone.

17.     Despite these attempts to cover the story, currently there is not robust and transparent

demographic data on how COVID-19 has impacted communities of color. Therefore, these

communities and their representatives have not been able to address potential risks and inequities in

healthcare treatment.

18.     Disclosure of demographic data on COVID-19 cases, treatments, and outcomes will increase

public understanding of the COVID-19 pandemic itself. In particular, the data on morbidity and

mortality among minority communities will allow these communities to better understand their own

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individual risks. It will also allow the public to assess whether healthcare providers are administering

COVID-19 treatment equitably. If the data reveals inequities in cases, treatments, or outcomes, the

public will be able to use this data to advocate for change and to work with public health officials to

address these inequities.

             Defendants Fail to Respond to The New York Times’ FOIA Request

19.     On April 14, 2020, The Times submitted a FOIA request requesting expedited processing to

the defendants requesting all Human Infection with 2019 Novel Coronavirus PUI and COVID-19

Case Report Forms submitted to HHS or any of its components, including the CDC, at any point

through the date of the search. A true and correct copy of the FOIA (with the Case Report Form

appended) is attached as Exhibit A.

20.     That same day, HHS acknowledged the request. The very next day it informed The Times

that the CDC is the “HHS Operating Division” that is “responsible for information collection of the

Person Under Investigation (PUI) and Case Report Forms.” It then informed The Times that it

would close the request, but that if the “CDC locate[s] records that originated with HHS officials, or

has any indications that HHS officials may have records responsive, [the] CDC w[ould] refer [the]

request to [HHS] for further action.”

21.     On April 21, 2020, the CDC itself replied to The Times’s request. The CDC granted the

request for expedited processing, stating that the request met the statutory criteria as set forth in

FOIA. Nevertheless, the reply stated that due to the volume of information requested, the CDC

“reasonably anticipated” that processing would be complete by October 18, 2020. A true and correct

copy of the CDC reply is attached as Exhibit C.

22.     After the CDC responded, that same day counsel for The Times called the CDC FOIA

officer assigned to the request. The FOIA officer said that the CDC needed time to investigate the

information in its possession because different jurisdictions send the CDC the underlying forms

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periodically and to determine how the underlying data in the requested forms was organized. The

FOIA officer responded that she would need to contact her colleagues to answer these questions to

determine if information could be provided to The Times on a rolling basis. The CDC FOIA officer

indicated that part of her investigation would be to determine if the information was in only in paper

form—which would require scanning and redacting all personally-identifiable information—or if the

information was organized in a database, in which case certain fields could be omitted. The FOIA

officer indicated she expected to have more information soon.

23.     On April 29, 2020, counsel for The Times called the CDC FOIA officer again to follow up.

Counsel for The Times learned that, to the best of the FOIA officer’s knowledge, the requested

information from the underlying forms was being entered into an electronic database. The officer

did not clarify if rolling production would be available, or when The Times would begin to receive

information.

24.     On May 4, 2020, counsel for The Times wrote the CDC a follow-up email regarding the

status of the FOIA request.

25.     On May 6, 2020, counsel for The Times received an email from the CDC stating it “at this

point, [the CDC] [had] no additional information” and that “[p]rogram staff are continuing their

efforts to assemble all data from the PUI forms.”

26.     On May 7, 2020, counsel for The Times received a voice mail message from the CDC stating

that the CDC planned to send a final response letter “today or tomorrow.”

27.     The Times has had no further contact with the CDC.

                                           COUNT ONE

28.     Plaintiff repeats, realleges, and reincorporates the allegations in the foregoing paragraphs as

though fully set forth herein.




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29.    Defendants HHS and CDC are subject to FOIA and must therefore release in response to a

FOIA request any disclosable records in its possession at the time of the request and provide a

lawful reason for withholding any materials as to which they is claiming an exemption.

30.    Defendants have failed to meet the statutory deadlines set by FOIA. See 5 U.S.C. §

552(a)(6)(A)-(E). Accordingly, Plaintiff is deemed to have exhausted its administrative remedies

under FOIA.

31.    Defendants have no lawful basis for declining to release the records requested by Plaintiff

under FOIA.

32.    Accordingly, Plaintiff is entitled to an order compelling Defendants to produce records

responsive to its FOIA request and on a rolling production schedule.

                                   REQUEST FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court:

33.     Declare that the documents sought by its FOIA request, as described in the foregoing

paragraphs, are public under 5 U.S.C. § 552 and must be disclosed;

34.    Order Defendants to provide the requested documents to Plaintiff within 20 business days

of the Court’s order;

35.    Award Plaintiff the costs of this proceeding, including reasonable attorney’s fees, as

expressly permitted by FOIA; and

36.    Grant Plaintiff such other and further relief as this Court deems just and proper.

       Dated: May 13, 2020
              New York, NY




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Respectfully submitted,


                                                /s/David E. McCraw
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CORNELL LAW SCHOOL
FIRST AMENDMENT CLINIC1
                                                       Counsel for the Plaintiff




1
 This complaint has been partially prepared by the Cornell Law School First Amendment
Clinic, a program housed within Cornell Law School and Cornell University. Nothing in this
complaint should be construed to represent the views of these institutions, if any.
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      Exhibit A
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Alexandra Perloff-Giles     Department of Health and Human Services
Legal Department
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                            Washington, D.C. 20201
                            FOIARequest@hhs.gov
620 8th Avenue
New York, NY 10018
nytimes.com                 Centers for Disease Control and Prevention
                            1600 Clifton Road, N.E.
                            Building 57, Room MS D-54
                            Atlanta, GA 30333
                            FOIARequests@cdc.gov

                            CMS FOIA Officer
                            Centers for Medicare & Medicaid Services
                            Mailstop N2-20-16
                            7500 Security Boulevard
                            Baltimore, MD 21244
                            FOIA_Request@cms.hhs.gov

                            April 14, 2020


                            RE: EXPEDITED             FREEDOM            OF   INFORMATION       ACT
                            REQUEST

                            To Whom It May Concern:

                                   This is an expedited request by The New York Times (“The
                            Times”) under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552,
                            for access to data related to COVID-19 testing, disease burden, treatment,
                            and patient outcomes. This request—specified below—seeks records held
                            by the Department of Health and Human Services (“HHS”) and its
                            components, the Centers for Disease Control and Prevention (“CDC”),
                            and the Centers for Medicare & Medicaid Services (“CMS”).

                                    Since the first case of COVID-19 in the United States was
                            identified in January, roughly 600,000 Americans have tested positive for
                            the novel coronavirus that causes COVID-19, and over 25,000 Americans
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        have died from the disease.1 As the virus has spread, testing shortages and
        delayed results have contributed to uncertainty about the true prevalence
        of the disease in affected communities around the country.2

                This uncertainty is particularly acute in low-income and minority
        communities, where a combination of limited access to healthcare
        resources, a higher prevalence of underlying health conditions that
        heighten the risks of COVID-19, and a significant concentration of “front
        line” workers has put these communities at the core of the United States’
        coronavirus outbreak. 3 Demographic data on COVID-19 cases and
        outcomes is limited, with only a small number of state and local health
        departments releasing such information. 4 However, early data on
        hospitalizations and deaths has shown that African-Americans might be
        disproportionately affected by COVID-19.5 In a recent letter to HHS, the
        Congressional Black Caucus noted that “[a]lthough everyone is at risk, the
        history of structural racism, income inequality, and lack of resources in
        communities of color make these communities especially vulnerable to
        COVID-19.”6

        1
          Coronavirus in the U.S.: Latest Map and Case Count, N.Y. Times,
        https://www.nytimes.com/interactive/2020/us/coronavirus-us-cases.html (last
        visited April 14, 2020).
        2
          Sheila Kaplan & Katie Thomas, Despite Promises, Testing Delays Leave
        Americans ‘Flying Blind’, N.Y. Times (Apr. 6, 2020),
        https://www.nytimes.com/2020/04/06/health/coronavirus-testing-us.html.
        3
          Jeffery C. Mays & Andy Newman, Virus is Twice as Deadly for Black and
        Latino People Than Whites in N.Y.C., N.Y. Times (Apr. 8, 2020),
        https://www.nytimes.com/2020/04/08/nyregion/coronavirus-race-deaths.html.
        4
          Akilah Johnson & Talia Buford, Early Data Shows African Americans Have
        Contracted and Died of Coronavirus at an Alarming Rate, ProPublica (Apr. 3,
        2020, 1:21 PM), https://www.propublica.org/article/early-data-shows-african-
        americans-have-contracted-and-died-of-coronavirus-at-an-alarming-rate.
        5
          Id.; David Waldstein, C.D.C. Releases Early Demographic Snapshot of Worst
        Coronavirus Cases, N.Y. Times (Apr. 10, 2020),
        https://www.nytimes.com/2020/04/08/health/coronavirus-cdc-demographic-
        study-hospitalizations.html; Ibram X. Kendi, Why Don’t We Know Who the
        Coronavirus Victims Are?, The Atlantic (Apr. 1., 2020),
        https://www.theatlantic.com/ideas/archive/2020/04/stop-looking-away-race-
        covid-19-victims/609250.
        6
          J. Edward Moreno, Congressional Black Caucus Calls on CDC to Report
        Racial Data, The Hill (Apr. 06, 2020, 5:06 PM),


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                The piecemeal approach to demographic data taken thus far will be
        insufficient to address this inequity. A lack of publicly available national
        demographic data will continue to hamper efforts to develop a robust
        public health response in low-income and minority communities that
        might be particularly vulnerable to COVID-19.7 Accurate and transparent
        national demographic data, on the other hand, will allow public health
        officials to develop policies and programs that will save lives in these
        communities, while also allowing to public to ensure that healthcare
        providers are administering COVID-19 treatment equitably across, for
        example, racial and ethnic lines.

        Document Request

               The Times seeks copies of the following records:

               All Human Infection with 2019 Novel Coronavirus Person
               Under Investigation (PUI) and Case Report Forms (“COVID-
               19 Case Report Forms”) submitted to HHS or any of its
               components at any point through the date of the search.

        A blank form is attached as Exhibit A.

                We request that all of these records be produced in their native
        electronic formats with any attached metadata included, so long as such
        electronic files can be opened using standard commercially available
        software. If the files cannot be produced in this manner, we request that
        records be produced in an alternative electronic format that is text-
        searchable. With respect to databases, spreadsheets or similar organized
        sets of data, we request that the records be produced in .xls or .csv format.
        5 U.S.C. § 552(a)(3)(B).

        Fee Waiver Request

               A waiver of search and review fees is appropriate here because
        disclosure of the requested information is in the public interest under 5


        http://thehill.com/homenews/house/491864-cbc-calls-on-cdc-to-report-racial-
        data.
        7
          Kendi, supra note 5.


                                              3
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        U.S.C. § 552(a)(4)(A)(iii) and 45 C.F.R. § 5.54(a), (b)(1)-(2), and because
        the request is not primarily in The Times’s commercial interest, 45 C.F.R.
        §§ 5.45(a), (b)(3)(ii).

        Disclosure Is in the Public Interest

                Disclosure of the requested information is likely to contribute
        significantly to the public understanding of the ongoing COVID-19
        pandemic and HHS’s response to it. 45 C.F.R. § 5.54(b)(1). In particular,
        the requested information will shed light on HHS’s data collection as part
        of its pandemic response, information which is not “already in the public
        domain.” 45 C.F.R. § 5.54(b)(2)(i). As a news media organization that has
        published several stories about the COVID-19 pandemic in general and its
        impact on minority communities or certain geographic regions in
        particular,8 we have demonstrated our “ability and intention to effectively
        convey information to the public.” 45 C.F.R. § 5.54(b)(2)(ii).

                Since the COVID-19 pandemic in the United States began, the
        pace at which the disease has spread and its consequences for individuals,
        communities, and the healthcare system have received widespread public
        attention.9 The United States has seen roughly 600,000 confirmed cases
        and over 25,000 deaths,10 but because tests remain limited, the true extent
        of the COVID-19 outbreak remains uncertain. 11 In New York City, for
        example, officials have noted that there are over 100 people per day who
        die at home who are presumed to be virus victims, but who, because they
        are not tested, are not counted in the COVID-19 death toll. 12 The
        uncertainty surrounding COVID-19 is particularly significant for low-
        income and minority communities in affected areas. As the Congressional
        Black Caucus noted in a recent letter requesting the release of
        demographic data, “[b]lack and brown communities are more likely to be

        8
          See Mays & Newman, supra note 3; Waldstein, supra note 5.
        9
          See, e.g., The Coronavirus Outbreak: Latest Updates, N.Y. Times,
        https://www.nytimes.com/2020/04/12/world/coronavirus-news.html (last visited
        Apr. 12, 2020).
        10
           See Coronavirus in the U.S.: Latest Map and Case Count, supra note 1.
        11
           Arjun K. Manrai & Kenneth D. Mandl, Covid-19 Testing: Overcoming
        Challenges in the Next Phase of the Epidemic, STAT (Mar. 31, 2020),
        https://www.statnews.com/2020/03/31/covid-19-overcoming-testing-challenges.
        12
           Mays & Newman, supra note 3.


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        lower-income, uninsured, lack access to quality care, and are more prone
        to chronic health conditions . . . that are serious risk factors for COVID-
        19” and are “less likely to have the ability to work from home . . . adding
        to their risk.”13

                Disclosure of demographic data on COVID-19 cases, treatments,
        and outcomes will thus “significantly contribute to the public
        understanding” of the COVID-19 pandemic itself and the data that HHS
        and its components collect as part of this response. 5 U.S.C. §
        552(a)(4)(A)(iii); 45 C.F.R. § 5.54(a). Access to the data that HHS collects
        through the COVID-19 Case Report Forms will allow the public to
        understand the true extent of COVID-19 morbidity and mortality among
        minority communities and to better understand their own individual risks.
        Without access to a full and accurate dataset, individuals are left to rely on
        the small number of state and local health departments that have chosen to
        release demographic data, which will likely prevent the public from
        understanding the true risk that COVID-19 poses to their communities.14
        The release of demographic information related to treatment will also
        allow the public to assess whether healthcare providers are administering
        COVID-19 treatment equitably. If the data reveals inequities in cases,
        treatment, or outcomes, the public will be able to use this data to advocate
        for change and to work with public health officials to address these
        inequities. Without robust and transparent demographic data, communities
        and their representatives will be unable to do so.15

                The information is not “already in the public domain,” under 45
        C.F.R. § 5.54(b)(2)(i) because HHS has not yet publicly released the
        COVID-19 Case Report Forms it has received. While the CDC has
        released a report on hospitalization data that included demographic data,
        that preliminary report includes only a subset of COVID-19 cases and
        does not reflect the continued spread of the virus and the significant
        increase in COVID-19 cases in April.16 This data will add something new
        13
           Letter from Congressional Black Caucus to CDC Director Dr. Robert R.
        Redfield (Apr. 7, 2020) [hereinafter “CBC Letter”],
        https://cbc.house.gov/uploadedfiles/cbc-
        cbc_health_braintrust_racial_disparities_letter_to_cdc.pdf.
        14
           Johnson & Buford, supra note 4.
        15
           Id.; CBC Letter, supra note 13.
        16
           Waldstein, supra note 5.


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        to the public’s understanding by providing nationwide demographic data
        for all recorded COVID-19 cases, significantly expanding the public’s
        understanding of the COVID-19 pandemic beyond what can be gleaned
        from the limited federal, state, and local data that has been released thus
        far.

        This Request is Not Primarily in The Times’s Commercial Interest

                The disclosure is not primarily in The Times’s commercial interest.
        45 C.F.R. § 5.54(a). We are a news media requester that can and will
        “effectively convey information to the public.” 45 C.F.R. § 5.54(b)(2)(ii).
        Because we have demonstrated that the information will shed light on the
        operations or activities of the government in its response to the COVID-19
        pandemic, 45 C.F.R. § 5.54(b)(1), and is not already in the public domain,
        45 C.F.R. § 5.54(b)(2)(i), this request is “not primarily in the commercial
        interest of the requester.” 45 C.F.R. § 5.54(b)(3)(ii).

               For these reasons, a public interest waiver of fees is appropriate
        here. We therefore respectfully request that fees related to the search,
        review, and duplication of requested records be waived.

        Limitation of Fees

                We are also entitled to a limitation of fees because we are a
        member of the news media. 45 C.F.R. § 5.53(b); 5 U.S.C. §
        552(a)(4)(A)(ii)(II). Accordingly, even if our application for a waiver of
        all fees is denied, we are entitled to a limitation of fees. As a news media
        requester, we are “entitled to search time, review time, and up to 100
        pages of duplication” and can be charged only duplication fees after the
        first 100 pages or its cost equivalent. 45 C.F.R. § 5.53(b). We request that
        the information be provided in its native electronic format, and thus there
        should be no duplication fees.

        Request for Expedited Processing

               We also ask that the information requested be disclosed on an
        expedited basis. Expedited processing is appropriate here because a
        “compelling need” exists for disclosure of the requested information. 5
        U.S.C. § 552(a)(6)(E)(i)(I). A compelling need exists when, with respect


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        to a request made by a person primarily engaged in disseminating
        information to the public, there is “an urgent need to inform the public
        about an actual or alleged Federal Government activity.” 45 C.F.R. §
        5.27(b)(2).

               As a news organization, we are primarily engaged in disseminating
        information to the public. As the COVID-19 pandemic unfolds, there is an
        urgent demand to inform the public about the relationship between certain
        demographic traits or pre-existing conditions and COVID-19 cases,
        treatment, and outcomes. The information requested thus concerns “a
        matter of exigency to the American public” and “the consequences of
        delaying a response would compromise a significant recognized interest.”
        Bloomberg, L.P. v. United States Food & Drug Admin., 500 F. Supp. 2d
        371, 377 (S.D.N.Y. 2007) (quoting Al-Fayed v. C.I.A., 254 F.3d 300, 310
        (D.C. Cir. 2001)).

                Demographic and health history data relating to COVID-19 cases,
        treatment, and outcomes is a matter of exigency to the American public.
        Prompt disclosure of the data that CDC collects as part of its response to
        the COVID-19 pandemic is critical in order to permit the public to better
        understand the risks that COVID-19 poses and to determine whether
        healthcare providers are providing treatment in an equitable way. This is
        particularly exigent given the apparently heightened vulnerability of low-
        income and minority communities, and communities with certain other
        characteristics such as high smog levels.17 As some preliminary racial and
        ethnic demographic has been released, these potential disparate impacts
        across racial lines are “the subject of an unfolding story.” See Al-Fayed,
        254 F.3d at 310. The importance of demographic data on COVID-19 cases
        and outcomes has been the subject of multiple stories in outlets including
        The New York Times, The Atlantic, The Hill, and ProPublica.18 A search
        of the Lexis Nexis database on April 11, 2020 identified 1,062 stories
        published on COVID-19 and racial disparities in the first two weeks of
        April alone.19

        17
             Mays & Newman, supra note 3.
        18
             Id.; Johnson & Buford, supra note 4; Kendi, supra note 5; Moreno, supra note
        6.
        19
          Lexis Advance Research, Results for: COVID-19 AND race AND
        demographic*, Lexis Nexis (Apr. 12, 2020).


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                Further, because this data is critical to helping the public
        understand the apparent vulnerability of minority and low-income
        communities to COVID-19, delaying a response would compromise a
        significant recognized interest, in this case the health of the public. See
        Bloomberg, L.P., 500 F. Supp. 2d at 377. Without access to the data that
        HHS collects on race, age, sex, county, preexisting conditions, symptoms,
        and patient outcomes, however, these communities are unable to assess the
        extent of this risk for themselves. They are instead left to rely on
        incomplete and preliminary data, which may not fully reflect the
        conditions in their own communities. Without the data that CDC has likely
        collected, the public will “not be able to accurately identify the threat
        among the most vulnerable populations nor find solutions to address
        associated health inequities.” 20 Accordingly, there is an urgent need to
        inform the public about CDC’s activity, making expedited processing
        appropriate.

                A compelling need also exists where “a failure to obtain requested
        records on an expedited basis could reasonably be expected to pose an
        imminent threat to the life or physical safety of an individual.” 45 C.F.R. §
        5.27(b)(1). Here, a failure to release accurate and transparent demographic
        data related to COVID-19 cases, treatments, and outcomes would keep
        certain communities and patient subpopulations in the dark about the true
        risks that COVID-19 poses to them. Thus individuals without access to
        this data may reasonably be less likely to take steps necessary to protect
        themselves and their communities from COVID-19, resulting in
        potentially severe illness or death. Further, such a failure to release this
        information would deprive the public of the information they need to see,
        for example, what treatments are most effective and what pre-existing
        conditions pose the greatest risk, or to ensure that minority patients are
        receiving the same treatments as their white counterparts, or that men and
        women are receiving the same level of care. Failure to provide data that
        might show inequitable treatment could unduly delay efforts by the public
        to more effectively advocate for changes to treatment practices that have
        disparate impacts, which can reasonably be expected to result in severe
        illness or death for those who live in communities that are at the center of


        20
             CBC Letter supra note 13.


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        the outbreak in places like New York City. 21 Without this data, public
        health officials will also be less able to develop appropriate responses to
        these inequities and “inequalities will likely worsen, preventable deaths
        will occur, and our efforts to slow the pandemic will fail.”22 Accordingly,
        any delay in releasing these records could reasonably be expected to pose
        an imminent threat to the life and safety of individuals in the United
        States. This compelling need for this data for use by the public and public
        health officials to prevent avoidable illness and death makes expedited
        processing appropriate here.

        Request for Explanation of Withholdings and Redactions

                If this request is denied in whole or in part, please provide a
        reasonable description of any withheld materials and a justification for all
        such withholdings that includes reference to the specific FOIA exemptions
        authorizing withholding and specific reasons why such exemptions apply.
        45 C.F.R. § 5.31. An agency shall withhold information only if “the
        agency reasonably foresees that disclosure would harm an interested
        protected by an exemption” or “disclosure is prohibited by law.” 5 U.S.C.
        § 552(a)(8)(A)(i). We therefore request that if CDC determines that an
        exemption applies that it also provide specific reasons why disclosure
        would harm any interest protected by such exemption. An agency shall
        also “consider whether partial disclosure of information is possible
        whenever the agency determines that a full disclosure of a requested
        record is not possible” and “take reasonable steps necessary to segregate
        and release nonexempt information.” Id. 552(a)(8)(A)(ii). We therefore
        request that CDC release all segregable portions of otherwise exempt
        material.

                                              ***

                Thank you for your prompt attention to this request. If you have
        any questions or concerns about what we are seeking, please do not
        hesitate to contact us at the email address below. Pursuant to the
        applicable FOIA provision and departmental regulations, we expect a


        21
             Mays & Newman, supra note 3; CBC Letter, supra note 13.
        22
             CBC Letter, supra note 13.


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        response regarding this request within the ten (10) working day time limit
        set by law. 45 C.F.R. § 5.27(c); 5 U.S.C. § 552(a)(6)(E)(ii)(I).

                                     Sincerely,

                                     /s/ Alexandra Perloff-Giles         .

                                     Alexandra Perloff-Giles
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                                     New York, NY 10018
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                                           10
                                           CDC 2019-nCoV
                             Case 1:20-cv-03704-JSR      ID:
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                                ……………PATIENT IDENTIFIER INFORMATION IS NOT TRANSMITTED TO CDC ……………………
             Patient first name _______________ Patient last name __________________                                                  Date of birth (MM/DD/YYYY): ____/_____/_______
                                ……………PATIENT IDENTIFIER INFORMATION IS NOT TRANSMITTED TO CDC ……………………


                                   Human Infection with 2019 Novel Coronavirus
                               Person Under Investigation (PUI) and Case Report Form
Reporting jurisdiction:                         ______________                                     Case state/local ID:                                      ______________
Reporting health department:                    ______________                                     CDC 2019-nCoV ID:                                         ______________
Contact ID a:                                   ______________                                     NNDSS loc. rec. ID/Case ID b:                             ______________
      a.    Only complete if case-patient is a known contact of prior source case-patient. Assign Contact ID using CDC 2019-nCoV ID and sequential contact ID, e.g., Confirmed case CA102034567 has contacts
            CA102034567 -01 and CA102034567 -02. bFor NNDSS reporters, use GenV2 or NETSS patient identifier.


Interviewer information
Name of interviewer: Last ______________________________ First ______________________________________
Affiliation/Organization: _______________________________ Telephone ________________ Email ______________________________

Basic information
What is the current status of this person?                             Ethnicity:                         Date of first positive specimen                            Was the patient hospitalized?
    Patient under investigation (PUI)                                      Hispanic/Latino                     collection (MM/DD/YYYY):                                Yes         No       Unknown
    Laboratory-confirmed case                                              Non-Hispanic/                       ____/_____/_______
                                                                           Latino                              Unknown            N/A                                If yes, admission date 1
Report date of PUI to CDC (MM/DD/YYYY):                                    Not specified                                                                             ___/___/___ (MM/DD/YYYY)
____/_____/_______                                                                                        Did the patient develop pneumonia?                         If yes, discharge date 1
                                                                       Sex:                                   Yes          Unknown                                   __/___/____ (MM/DD/YYYY)
Report date of case to CDC (MM/DD/YYYY):                                      Male                            No
____/_____/_______                                                            Female                                                                                 Was the patient admitted to an
                                                                              Unknown                     Did the patient have acute                                 intensive care unit (ICU)?
County of residence: ___________________                                      Other                       respiratory distress syndrome?                                 Yes        No        Unknown
State of residence: ___________________                                                                       Yes          Unknown
Race (check all that apply):                                                                                  No                                                     Did the patient receive mechanical
                                                                                                                                                                     ventilation (MV)/intubation?
    Asian                                         American Indian/Alaska Native                           Did the patient have another                                    Yes         No      Unknown
    Black                                         Native Hawaiian/Other Pacific Islander                  diagnosis/etiology for their illness?                      If yes, total days with MV (days)
    White                                         Unknown                                                     Yes          Unknown                                   _______________
                                                                                                              No
    Other, specify: _________________
                                                                                                                                                                     Did the patient receive ECMO?
Date of birth (MM/DD/YYYY): ____/_____/_______                                                            Did the patient have an abnormal                               Yes        No        Unknown
Age: ____________                                                                                         chest X-ray?
Age units(yr/mo/day): ________________                                                                        Yes          Unknown                                   Did the patient die as a result of this
                                                                                                              No                                                     illness?
                                                                                                                                                                          Yes       No        Unknown
Symptoms present              If symptomatic, onset         If symptomatic, date of symptom resolution (MM/DD/YYYY):
during course of illness:     date (MM/DD/YYYY):            ____/_____/_____                                                              Date of death (MM/DD/YYYY):
       Symptomatic            ____/_____/_______                 Still symptomatic         Unknown symptom status                         ____/_____/_______
       Asymptomatic                Unknown                       Symptoms resolved, unknown date                                              Unknown date of death
       Unknown
Is the patient a health care worker in the United States? Yes               No       Unknown
Does the patient have a history of being in a healthcare facility (as a patient, worker or visitor) in China?          Yes      No      Unknown
In the 14 days prior to illness onset, did the patient have any of the following exposures (check all that apply):
       Travel to Wuhan                                  Community contact with another                       Exposure to a cluster of patients with severe acute lower
       Travel to Hubei                                  lab-confirmed COVID-19 case-patient                  respiratory distress of unknown etiology
       Travel to mainland China                         Any healthcare contact with another                  Other, specify:____________________
       Travel to other non-US country                   lab-confirmed COVID-19 case-patient                  Unknown
       specify:_____________________                         Patient        Visitor         HCW
       Household contact with another lab              Animal exposure
       confirmed COVID-19 case-patient
If the patient had contact with another COVID-19 case, was this person a U.S. case?             Yes, nCoV ID of source case: _______________          No      Unknown                                          N/A
Under what process was the PUI or case first identified? (check all that apply):         Clinical evaluation leading to PUI determination
     Contact tracing of case patient       Routine surveillance         EpiX notification of travelers; if checked, DGMQID_______________
     Unknown           Other, specify:_________________

Symptoms, clinical course, past medical history and social history
Collected from (check all that apply):                     Patient interview                     Medical record review

Public reporting burden of this collection of information is estimated to average 30 minutes per response, including the time for reviewing instructions, searching existing data sources,
gathering and maintaining the data needed, and completing and reviewing the collection of information. An agency may not conduct or sponsor, and a person is not required to respond to a
collection of information unless it displays a currently valid OMB control number. Send comments regarding this burden estimate or any other aspect of this collection of information
including suggestions for reducing this burden to CDC/ATSDR Reports Clearance Officer; 1600 Clifton Road NE, MS D-74 Atlanta, Georgia 30333; ATTN: PRA (0920-1011).
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                                                        CDC 2019-nCoV ID:                                                         Form Approved: OMB: 0920-1011 Exp. 4/23/2020

                                Human Infection with 2019 Novel Coronavirus
                            Person Under Investigation (PUI) and Case Report Form
During this illness, did the patient experience any of the following symptoms?                            Symptom Present?
Fever >100.4F (38C)c                                                                                        Yes    No                  Unk
Subjective fever (felt feverish)                                                                            Yes    No                  Unk
Chills                                                                                                      Yes    No                  Unk
Muscle aches (myalgia)                                                                                      Yes    No                  Unk
Runny nose (rhinorrhea)                                                                                     Yes    No                  Unk
Sore throat                                                                                                 Yes    No                  Unk
Cough (new onset or worsening of chronic cough)                                                             Yes    No                  Unk
Shortness of breath (dyspnea)                                                                               Yes    No                  Unk
Nausea or vomiting                                                                                          Yes    No                  Unk
Headache                                                                                                    Yes    No                  Unk
Abdominal pain                                                                                              Yes    No                  Unk
Diarrhea (≥3 loose/looser than normal stools/24hr period)                                                   Yes    No                  Unk
Other, specify:_____________________________________________                                               -
Pre-existing medical conditions?                                                                                                           Yes       No       Unknown
Chronic Lung Disease (asthma/emphysema/COPD)                          Yes             No       Unknown
Diabetes Mellitus                                                     Yes             No       Unknown
Cardiovascular disease                                                Yes             No       Unknown
Chronic Renal disease                                                 Yes             No       Unknown
Chronic Liver disease                                                 Yes             No       Unknown
Immunocompromised Condition                                           Yes             No       Unknown
Neurologic/neurodevelopmental                                         Yes             No       Unknown             (If YES, specify)
Other chronic diseases                                                Yes             No       Unknown             (If YES, specify)
If female, currently pregnant                                         Yes             No       Unknown
Current smoker                                                        Yes             No       Unknown
Former smoker                                                         Yes             No       Unknown

Respiratory Diagnostic Testing                                                                           Specimens for COVID-19 Testing
Test                                                  Pos       Neg         Pend. Not done                Specimen     Specimen       Date                    Sent to        State Lab
                                                                                                            Type          ID       Collected                   CDC            Tested
Influenza rapid Ag A B                                                                                   NP Swab
Influenza PCR A B                                                                                        OP Swab
RSV                                                                                                      Sputum
H. metapneumovirus                                                                                       Other,
Parainfluenza (1-4)                                                                                      Specify:
Adenovirus                                                                                               _________
Rhinovirus/enterovirus
Coronavirus (OC43, 229E, HKU1, NL63)
M. pneumoniae
C. pneumoniae
Other, Specify:__________________                       -         -           -            -

Additional State/local Specimen IDs: ______________                      ______________            ______________           ______________            ______________




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